          Case 1:21-cr-00392-RCL Document 52 Filed 08/03/21 Page 1 of 1
NOTICE OF APPEARANCE IN A CRIMINAL CASE



                                   CLERK’S OFFICE
                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
                               WASHINGTON, D.C. 20001


UNITED STATES OF AMERICA


        vs.                                          Criminal Number 1:21-cr-00392-RCL


Derek Kinnison
            (Defendant)




TO:      ANGELA CAESAR, CLERK

YOU ARE HEREBY NOTIFIED THAT I APPEAR FOR THE DEFENDANT INDICATED
ABOVE IN THE ENTITLED ACTION.


I AM APPEARING IN THIS ACTION AS:               (Please check one)


 9       CJA                9■     RETAINED            9      FEDERAL PUBLIC DEFENDER



                                                                   (Signature)



                                            PLEASE PRINT THE FOLLOWING INFORMATION:

                                          Nicolaie Cocis (California #204703)* Pro Hac Vice
                                                           (Attorney & Bar ID Number)
                                          Law Office of Nicolaie Cocis
                                                                  (Firm Name)

                                          25026 Las Brisas Rd.
                                                                (Street Address)

                                          Murrieta, CA 92562
                                            (City)                 (State)          (Zip)

                                          951-695-1400
                                                              (Telephone Number)
